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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                     :
In re:                                               : Chapter 7
                                                     :
THE MITCHELL GOLD CO., LLC, et                       : Case No. 23-11385-LSS
al. 1                                                :
                                                     : (Jointly Administered)
                          Debtor.                    :
                                                     :


                                     NOTICE OF AGENDA FOR HEARING
                                 SCHEDULED FOR OCTOBER 26, 2023 AT 1:30 P.M.


             This hearing will be conducted in-person. Any exceptions must be approved by
                                            chambers.

    Parties may observe the hearing remotely by registering with the Zoom link below no
                          later than October 26, 2023, at 8:00 a.m.

             https://debuscourts.zoomgov.com/meeting/register/vJItf-mrqj4rEyrdmX-
                                     znWs960chxdNCWKs

         After registering your appearance by Zoom, you will receive a confirmation email
                         containing information about joining the hearing.
__________________________________________________________________________________


    I.       MATTERS GOING FORWARD:

    1.       Motion of PNC Bank, National Association for Relief from the Automatic Stay Under 11 U.S.C.
             Section 362 (d) to Permit PNC to Exercise Rights and Remedies, or, in the Alternative, Adequate
             Protection Under 11 U.S.C. Sections 361 and 363 (e) [Filed 9/19/23- D.I. 87].

             Response Deadline: September 25, 2023 at 4:00 p.m. ET.

             Responses Received:

            a. Joint Objection of Texas Taxing Authorities to Motion of PNC Bank, National Association for
               Relief from the Automatic Stay Under 11 U.S.C. Section 362 (d) to Permit PNC to Exercise Rights

1
 The Debtors in these chapter 11 cases, along with the Debtors’ federal tax identification numbers are: The Mitchell Gold Co.,
LLC (8942) and SG-TMGC, LLC (0248). The Debtors’ addresses are, respectively, 135 One Comfortable Place, Taylorsville,
North Carolina 28681 and P.O. Box 3417, Little Rock, Arkansas 72203.
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         and Remedies, or, in the Alternative, Adequate Protection Under 11 U.S.C. Sections 361 and 363
         (e) - [Filed 9/25/23- D.I. 108].

      b. Objection to Motion of PNC Bank, National Association for Relief from the Automatic Stay
         Under 11 U.S.C. Section 362 (d) to Permit PNC to Exercise Rights and Remedies, or, in the
         Alternative, Adequate Protection Under 11 U.S.C. Sections 361 and 363 (e) filed by Maricopa
         County Treasurer. [Filed 10/6/23- D.I. 189].

      c. Debtors’ Preliminary Objection to Motion of PNC Bank, National Association for Relief from the
         Automatic Stay Under 11 U.S.C. Section 362 (d) to Permit PNC to Exercise Rights and Remedies,
         or, in the Alternative, Adequate Protection Under 11 U.S.C. Sections 361 and 363 (e) - [Filed
         10/6/23- D.I. 190].

      d. Reply of PNC Bank, National Association to Debtors’ Preliminary Objection to Motion of PNC
         Bank, National Association for Relief from the Automatic Stay Under 11 U.S.C. Section 362 (d)
         to Permit PNC to Exercise Rights and Remedies, or, in the Alternative, Adequate Protection
         Under 11 U.S.C. Sections 361 and 363 (e) – [Filed 10/23/23-D.I. 238].

      Status: This matter is going forward as scheduled. The parties are working toward a potential
      resolution. In the event a resolution is reached, a proposed form of agreed order will be submitted
      to the Court under Certification of Counsel.

2.     Status Conference.

       Related Documents:

       a. Certification of Counsel Regarding Stipulation Between Ryder Last Mile, Inc., Trustee, PNC
          Bank, N.A. and The Stephens Group, LLC Regarding Furniture Delivery Protocol filed by
          Ryder Last Mile, Inc. – Filed 10/20/23- D.I. 235].

       b. Joint Limited Objection of Merchant E-Solutions, Inc. and American Express Travel Related
          Services Company, Inc. to Stipulation Between Ryder Last Mile, Inc., Trustee, PNC Bank,
          N.A. and The Stephens Group, LLC Regarding Furniture Delivery Protocol filed by Ryder
          Last Mile, Inc. – Filed 10/20/23- D.I. 237].

      Status: This matter will go forward as a Status Conference.

II.    MATTERS NOT GOING FORWARD:

1.     Debtors’ Motion for Entry of an Order (I) Authorizing Debtors to Seal Certain Personally
       Identifiable Information for Customers, Creditors, and Parties in Interest and (II) Granting
       Related Relief – [Filed 9/19/23- D.I. 87].

       Response Deadline: October 3, 2023 at 4:00 p.m. ET.

       Responses Received: None.

      Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
      matter will not be going forward.
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2.   Application to Retain Timothy A. Stump & Company as Investment Banker to the Debtors [Filed
     9/21/23- D.I 98.].

     Response Deadline: October 5, 2023 at 4:00 p.m. ET.

     Responses Received: None.

     Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
     matter will not be going forward.

3.   Application to Retain Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy Counsel [Filed
     10/5/23- D.I. 173].

     Response Deadline: October 19, 2023 at 4:00 p.m. ET.

     Responses Received: None.

     Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
     matter will not be going forward.

4.   Application to Retain Rose Law Firm as Special Corporate Counsel [Filed 10/5/23- D.I. 174].

     Response Deadline: October 19, 2023 at 4:00 p.m. ET.

     Responses Received: None.

     Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
     matter will not be going forward.

5.   Application to Retain Rose Law Firm as Special Corporate Counsel [Filed 10/5/23- D.I. 174].

     Response Deadline: October 19, 2023 at 4:00 p.m. ET.

     Responses Received: None.

     Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
     matter will not be going forward.

6.   Application to Retain Rayburn, Cooper & Durham, P.A. as Bankruptcy Co-Counsel [Filed
     10/5/23- D.I. 175].

     Response Deadline: October 19, 2023 at 4:00 p.m. ET.

     Responses Received: None.

     Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
     matter will not be going forward.
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7.    Application to Epiq Corporate Restructuring, LLC as Administrative Advisor [Filed 10/5/23- D.I.
      176].

      Response Deadline: October 19, 2023 at 4:00 p.m. ET.

      Responses Received: None.

      Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
      matter will not be going forward.

8.    Application to Riveron Management Services, LLC [Filed 10/5/23- D.I. 177].

      Response Deadline: October 19, 2023 at 4:00 p.m. ET.

      Responses Received: None.

      Status: This case was converted to Chapter 7 by Order dated October 6, 2023 at D.I. 194. This
      matter will not be going forward.

     Dated: October 24, 2023             CIARDI CIARDI & ASTIN
            Wilmington, Delaware


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